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                               EXHIBIT 2




Svothi, Inc. v. Dark Alley Media, LLC, et. al. No. 25 CV 00333 | Declaration of Robert Felt
Case 1:25-cv-00333-ALC       Document 21-3     Filed 02/05/25   Page 2 of 18




                               Studio Name:
                      DARK ALLEY MEDIA
                                 RFC 001
                                Movie Title:
                      "Raw Fuck Club"
                             Date of Production:
                            8/20/07 -10/14/07

                     Number of Models / Actors:

     Alias/ Screen Name           Legal Name                Date of Birth
     (performing as)

 1   fftdet; ck 13e,r,y"\                                              3
02   Paris (Jay Nash)
03   Jarod Steel
04   Danny Fox
05   Austin Shadow
06   Yves
 I   ·fim R.uify
08
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Case 1:25-cv-00333-ALC                  Document 21-3              Filed 02/05/25         Page 3 of 18




                     DARK ALLEY MEDIA MODEL RELEASE FORM

NAME OF PROJCET: __                  oc\ c-
                                     11'----_
                                           .....
                                            \\__,_~-------------

I, the undersigned model (hereafter model), do voluntarily authorize and give permission to the below
producer, Dark Alley Media, (hereafter producer), to the exclusive ruse of photographs. video, electronic
and digital productions in any fom1 ofmy person or personal property in any media existing today and
invented in the future.

From the date of execution of this General Release and Authorization, the undersigned hereto does grant,
release, and assign to Producer any and all claims of rights whatsoever in and to all photographs, moving
pictures, digital media of any and all kinds, or printed materials of the undersigned by the undersigned and
delivered to Producer for any purpose chosen by Producer.

For execution hereto and for value received and acknowledge by Model, Producer shall exclusively and
irrevocably own in property all right, title, and interest, including copyright in and to the digitized
photographs. reproductions, video, and any digitized material of the undersigned with no rights expressly
reserved by the Model.

Model also grants Producer and its designees the right to use his name, likeness, image, voice, appearance,
and performance as embodied in the Product whether recorded on or transferred to videotape, film, slides,
photographs, audiotapes, or other media. know now to exist or to be later developed. This grant includes
without limitation the right to edit, mix, duplicate and to use or re-use the Product in whole or in pan as
Producer may elect. Producer or its designee will have complete ownership of the Product in which model
appears including copyright interests, and Model acknowledges that he has no interest or ownership in the
Product or its copyright.

Model affirms that he has the legal right to enter into this Agreement, that he is not restricted by any
commitments to any parties, and that Producer has no financial commitments or obligations to meet as a
result of this agreement.

Model also affirms that his date of birth is ____           and that the Identifications provided Producer to
verify this date of birth are not falsified or altered in any way.

I hereby give all clearance. copyrights and otherwise, for use ofmy name, likeness, image, voice,
appearance, and performance embodied in the product. I expressly release and indemnify Producer and its
officers, employees, agents, and designees from any and all claims known and unknown arising out of or in
an way connected with the above granted uses and representations. The rights granted herein are perpetual
and worldwide and survive my death and any other occurrence.

MODEL's LEG

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PRODUCERS's NAME
                               ------------------------------

SIGNATURE ---+---------------                                                  'I
                                                                    DATE -------------

                                            PAGE ONE OF TWO
Case 1:25-cv-00333-ALC            Document 21-3             Filed 02/05/25   Page 4 of 18




                 MODEL's INFORMATION AND IDENTIFICATION


LEGAL NAME:

STAGE NAME:                        ~...
                      o .......,:)~--                '-U   ct_
ADDRESS:


TELEPHONE:

SOCIAL SECURITY NUMBER:

ANY AND ALL ALIAS's or STAGE NAMES EVER USED:


IDENTIFICATION NUMBER ONE

    I) Description:                            L.)   ,-


   2) Number:

IDENTIFICATION NUMBER TWO

    I) Description:   7..,, ...~~~ ~">._,,,.   1"
   2) Number:



PAYMENT RECEIPT

I acknowledge that I have received -       dollars in the form of __   and that there
are no outstanding balances or other forms for compensation owed to me by Dark Alley
Media.


SIGNATUREOF MODEL ~)                     r;_,,,           l:.,    DATE




                                   PAGE TWO OF TWO
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                    DARK ALLEY MEDlA MODEL RELEASE FORM

NAME OF PROJCET:                             ~C   t--
                              ------~~--~~----------------
I, the undersigned model (hereafter model), do voluntarily authorize and give permission to the below
producer, Dark Alley Media, (hereafter producer), to the exclusive ruse of photographs, video, electronic
and digital productions in any form ofmy person or personal property in any media existing today and
invented in the future.

From the date of execution of this General Release and Authorization, the undersigned hereto does grant,
release, and assign to Producer any and all claims of rights whatsoever in and to all photographs, moving
pictures, digital media of any and all kinds, or printed materials of the undersigned by the undersigned and
delivered to Producer for any purpose chosen by Producer.

For execution hereto and for value received and acknowledge by Model, Producer shall exclusively and
irrevocably own in property all right, title, and interest, including copyright in and to the digitized
photographs, reproductions. video. and any digitized material of the undersigned with no rights expressly
reserved by the Model.

Model also grants Producer and its designees the right to use his name, likeness, image, voice, appearance,
and performance as embodied in the Product whether recorded on or transferred to videotape. film, slides.
photographs, audiotapes, or other media. know now to exist or to be later developed. This grant includes
without limitation the right to edit. mix, duplicate and to use or re-use the Product in whole or in part as
Producer may elect. Producer or its designee will have complete ownership of the Product in which model
appears including copyright interests, and Model acknowledges that he has no interest or ownership in the
Product or its copyright.

Model affirms that he has the legal right to enter into this Agreement. that he is not restricted by any
commitments to any parties, and that Producer has no financial commitments or obligations to meet as a
resu It of this agreement.                                   C

Model also affirms that his date of birth is O'JS I ~~
                                                )·1t       j t~at the Identifications provided Producer to
verify this date of birth are not falsified or altered in any way.

I hereby give all clearance. copyrights and otherwise, for use of my name, likeness, image. voice.
appearance. and performance embodied in the product. I expressly release and indemnify Producer and its
officers, employees, agents. and designees from any and all claims known and unknown arising out of or in
an way connected with the above granted uses and representations. The rights granted herein are perpetual
and worldwide and survive my death and any other occurrence.


MODEL's LEGAL NAME __




PRODUCERS'sNAME               __ Ku\}('-
                                  ________________________
                                    _,__                                                                     _

SLGNATV~f                                                         DATE_         __,((_-(_?_lt_l-
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                                            PAGE ONE OF TWO
Case 1:25-cv-00333-ALC                Document 21-3            Filed 02/05/25          Page 6 of 18




                MODEL's INFORMATfONAND IDENTIFICATION


LEGAL NAME

STAGE NAME:          Au~         , \'      S~\v'\c.h...\J.-)
ADDREss:


TELEPHONE:

SOCIAL SECURITY NUMBER:

ANY AND ALL ALI'ls·s or STAGE NAMES EVER USEJ):                                    (         n
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   2) Number:

IDENTIFICATIONNUMBERTWO
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   I) Description:    I \"'-t         /,
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   2) Number:



PAYMENT RECEIPT

I acknowledge that l have received       ~")dollars in the fom1 of C ,..and that there
                                             J
are no outstanding balances or other forms for compensation owed to me by Dark Alley
Media.


SIGNATUREOFMODEL                                                                  C;'-( IJ~ 2,:,vl



                                       PAGE TWO OF TWO
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                     DARK ALLEY MEDIA MODEL RELEASE FORM

NAME OF PROJCET: ---------,,,--~------------------   t vc
I. the undersigned model (hereafter model), do voluntarily authorize and give permission to the below
producer, Dark Alley Media, (hereafter producer), to the exclusive ruse of photographs, video, electronic
and digital productions in any form of my person or personal property in any media existing today and
invented in the future.

From the date of execution of this General Release and Authorization, the undersigned hereto does grant,
release. and assign to Producer any and all claims of rights whatsoever in and to all photographs, moving
pictures, digital media of any and all kinds, or printed materials of the undersigned by the undersigned and
delivered to Producer for any purpose chosen by Producer.

For execution hereto and for value received and acknowledge by Model, Producer shall exclusively and
irrevocably own in property all right, title, and interest, including copyright in and to the digitized
photographs, reproductions, video, and any digitized material of the undersigned with no rights expressly
reserved by the Model.

Model also grants Producer and its designees the right to use his name, likeness, image, voice, appearance,
and performance as embodied in the Product whether recorded on or transferred to videotape, film, slides,
photographs, audiotapes. or other media, know now to exist or to be later developed. This grant includes
without limitation the right to edit, mix, duplicate and to use or re-use the Product in whole or in part as
Producer may elect. Producer or its designee will have complete ownership of the Product in which model
appears including copyright interests, and Model acknowledges that he has no interest or ownership in the
Product or its copyright.

Model affirms that he has the legal right to enter into this Agreement, that he is not restricted by any
comm ihnents to any parties, and that Producer has no financial commitments or obligations lo meet as a
result of this agreement.

Model also affirms that his date of birth is___             and that the Identifications provided Producer to
verify this date of birth are not falsified or altered in any way.

I hereby give all clearance, copyrights and otherwise, for use ofmy name, likeness, image. voice,
appearance, and performance embodied in the product. J expressly release and indemnify Producer and its
officers, employees. agents, and designees from any and all claims known and unknown arising out of or in
an way connected with the above granted uses and representations. The rights granted herein are perpetual
and worldwide and survive my death and any other occurrence.


MODEL's LEGAL NAME


SIGNATURE              /'
                        .,,,--
                                 /4 -                            DATE


PRODUCERS's          NAME---✓--c_\_)<_"_\-_ri_e.._\_\
                                              _______                                                    _

SIGNAT~~                                                            DATE
                                                                            -------------
                                          PAGE ONE OF TWO
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                 MODEL's INFORMATION AND IDENTIFICATION


LEGAL NAME: -

ST AGE NAME:         ~M          fZ_;.s ,
                                            7
ADDRESS:

                                                                    o
TELEPHONE:

SOCIAL SECURITY NUMBER:

ANY AND ALL ALIAS's or STAGE NAMES EVER USED:


IDENTIFICATION NUMBER ONE

   1) Description:    0'1          Of2i ve"L.3           l.,tc..c,-J~c;


   2) Number:

IDENTIFICATION NUMBER TWO

   1) Description:        SouA-1....            Sf':lull.ATf-?      {~

   2) Number:



PAYMENT RECEIPT
                                                0I                           (\r\.u\(;
f acknowledge that I have received \        0 U dollars in the form of __
                                                                       and that there
are no outstanding balances or other forms for compensation owed to me by Dark Alley
Media.


SIGNATURE OF MODE(              ~~-
                              /-~--                                       DATE     C£ci-D O 1---



                                       PAGE TWO OF TWO
,-
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                           DARK ALLEY MEDlA MODEL RELEASE FORM

       NAME OF PROJCET:.__                             -~~C='~----------
                                              ____)l;l::::::·


       I. the undersigned model (hereafter model), do voluntarily authorize and give permission to the below
       producer, Dark Alley Media, (hereafter producer), to the exclusive ruse of photographs, video, electronic
       and digital productions in any fonn of my person or personal property in any media existing today and
       invented in the future.

       From the date of execution of th is General Release and Authorization, the undersigned hereto does grant,
       release, and assign to Producer any and all claims of rights whatsoever in and to all photographs, moving
       pictures, digital media of any and all kinds, or printed materials of the undersigned by the undersigned and
       delivered to Producer for any purpose chosen by Producer.

       For execution hereto and for value received and acknowledge by Model, Producer shall exclusively and
       irrevocably own in property all right, title, and interest, including copyright in and to the digitized
       photographs, reproductions, video, and any digitized material of the undersigned with no rights expressly
       reserved by the Model.

       Model also grants Producer and its designees the right to use his name, likeness, image, voice, appearance,
       and performance as embodied in the Product whether recorded on or transferred to videotape, film, slides,
       photographs, audiotapes, or other media, know now to exist or to be later developed. This grant includes
       without limitation the right to edit, mix, duplicate and to use or re-use the Product in whole or in part as
       Producer may elect. Producer or its designee will have complete ownership of the Product in which model
       appears including copyright interests, and Model acknowledges that he has no interest or ownership in the
       Product or its copyright.

       Model affinns that he has the legal right to enter into this Agreement, that he is not restricted by any
       commitments to any parties, and that Producer has no financial commitments or obligations to meet as a
       result of this agreement.

       Model also affirms that his date of birth/is. fl ~bj~     jd that the Identifications provided Producer to
       verify this date of birth are not falsified~ altered in any way.

       I hereby give all clearance, copyrights and otherwise, for use ofmy name, likeness, image, voice,
       appearance, and performance embodied in the product. I expressly release and indemnify Producer and its
       officers, employees, agents, and designees from any and all claims known and unknown arising out of or in
       an way connected with the above granted uses and representations. The rights granted herein are perpetual
       and worldwide and survive my death an any other occu rence.

       MODEL's LEGAL NAME --\-


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       PRODUCERS"s NAME ---~'-----'--'------'-_::_b-?'('t            fey\
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       SIGNATU~                 \.,z_,lk                                                       ,>S  /.JJ1-   IL
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                                                PAGE ONE OF TWO
Case 1:25-cv-00333-ALC          Document 21-3       Filed 02/05/25     Page 10 of 18




                 MODEL's INFORMATIONAND JDENTlFICATfON


LEGAL NAM                                             O
STAGE NAME0C~\f             N C-lS'~
ADDRESS:


TELEPHONE:

SOCIAL SECURJTYNUMBER:

ANY AND ALL ALJAS's or STAGENAMES EVER USED:


IDENTTFICA
         TIONNUMBER ONE

    1) Description:         NY·oc
   2) Number:

IDENTIFICATIONNUMBER TWO

    1) Description:      s·sc...
   2) Number:



PAYMENT RECEIPT

l acknowledge that I have received~;:_' dollars in the form of (ct.:) 1,,hnd that there
are no outstandingbalancesor otherforms for compensationowed to me by DarkAlley
Media.


SIGNATURE OF MODEc_·~-+-'u~l_-_-_~_<-----J-_,__~"~~--
                                                 DATE                o(zc/c7
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                                 PAGE TWO OF TWO
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                         DARK ALLEY MEDIA MODEL RELEASE FORM

    NAME OF PROJCET: --------I',....-::.--;:;_----------------- ()<C:
                                                                    G
    I. the undersigned model (hereafter model), do voluntarily authorize and give permission to the below
    producer, Dark Alley Media, (hereafter producer), to the exclusive ruse of photographs, video, electronic
    and digital productions in any form ofmy person or personal property in any media existing today and
    invented in the future.

    From the date of execution of this General Release and Authorization, the undersigned hereto does grant,
    release, and assign to Producer any and all claims of rights whalo;oever in and to all photographs, moving
    pictures, digital media of any and all kinds, or printed materials of the undersigned by the undersigned and
    delivered to Producer for any purpose chosen by Producer.

    For execution hereto and for value received and acknowledge by Model, Producer shall exclusively and
    irrevocably own in property all right, title, and interest, including copyright in and to the digitized
    photographs, reproductions, video, and any digitized material of the undersigned with no rights expressly
    reserved by the Model.

    Model also grants Producer and its designees the right to use his name, likeness, image, voice, appearance,
    and performance as embodied in the Product whether recorded on or transferred to videotape, film, slides,
    photographs, audiotapes, or other media, know now to exist or to be later developed. This grant includes
    without limitation the right to edit, mix, duplicate and to use or re-use the Product in whole or in part as
    Producer may elect. Producer or its designee will have complete ownership of the Product in which model
    appears including copyright interests, and Model acknowledges that he has no interest or ownership in the
    Product or its copyright.

    Model affirms that he has the legal right to enter into this Agreement, that he is not restricted by any
    commitments to any parties, and that Producer has no financial commitments or obligations to meet as a
    result of this agreement.

    Model also affirms that his date of bift.h is 27/i/          23
                                                                 and that the Identifications provided Producer to
    verify th is date of birth are not falsified or alterdd in any way.

    I hereby give all clearance. copyrights and otherwise, for use of my name, likeness, image. voice.
    appearance, and performance embodied in the product. I expressly release and indemnify Producer and its
    officers, employees, agents, and designees from any and all claims known and unknown arising out of or in
    an way connected with the above granted uses and representations. The rights granted herein are perpetual
    and worldwide and survive my death and any other occurrence.

MODEL's LEGAL                                                                               -_L
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l   SIGNATURE_~---+--'-~~\-~--d---"~l~··                   -~-'--' ~--      DA TE   ,f/ 2 0 ( U !:

    PRODUCERS's NAME __                              ti --'Q'-"--{'--'--\
                                         ]-+· .....,......          __      F_e._\_\'
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    SIGNATURE:R                E it:                                         DATE_,..,,._~-+-'-l')J_l_~r
                                                                                                 __
                                                 PAGE ONE OF TWO
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                 MODEL's INFORMATION AND IDENTIFICATION


LEGAL NAME:                                             .
STAGE NAME:           FQ E'0£1?_ 1 K          i)E f2.L11\/
ADDRESS:


TELEPHONE:

SOCIAL SECURITY NUMBER:

ANY AND ALL ALIAS's or STAGE NAMES EVER USED:


IDENTIFICATION NUMBER ONE

    1) Description:

    2) Number:

IDENTIFICATION NUMBER TWO

    1) Description:       Ve'--->"::>   ~o   ,~   ~     \)-._     ~ l.._

   2) Number:



PAYMENT RECEIPT

1 acknowledge that I have received~        dollars in the form of c~'> V\and that there
are no outstanding balances or other forms for compensation owed to me by Dark Alley
Media.                                     •


SIGNATURE OF MODELfl,                   W\Ct                    DATE   g I zc(c:f
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                                   PAGE TWO OF TWO
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NAME OF PROJCET:
                                                -
                    DARK ALLEY MEDIA MODEL RELEASE FORM
                                                   I ,.A\(., (., \_, ½
                              ----------------------------
I, the undersigned model (hereafter model), do voluntarily authorize and give permission to the below
producer, Dark Alley Media, (hereafter producer), to the exclusive ruse of photographs, video. electronic
and digital productions in any form ofmy person or personal property in any media existing today and
invented in the future.

From the date of execution of this General Release and Authorization, the undersigned hereto does grant,
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pictures, digital media of any and all kinds, or printed materials of the undersigned by the undersigned and
delivered to Producer for any purpose chosen by Producer.

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photographs, audiotapes, or other media, know now to exist or to be later developed. This grant includes
without limitation the right to edit, mix, duplicate and to use or re-use the Product in whole or in part as
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commitments to any parties, and that Producer has no financial commitments or obligations to meet as a
result of this agreement.
                                                     I t
Model also affirms that his date of birth is ~ {t 'i?a~d that the Identifications provided Producer to
                                               J
verify this date of birth are not falsified or altered in any way.

I hereby give all clearance, copyrights and otherwise, for use of my name, likeness, image, voice,
appearance, and performance embodied in the product. I expressly release and indemnify Producer and its
officers, employees, agents, and designees from any and all claims known and unknown arising out of or in
an way connected with the above granted uses and representations. The rights granted herein are perpetual
and worldwide and survive my death and any other occurrence.

MODEL's LEGAL NAME___                                                         t-.
                                                                               ___             _



SIGNATURE__ ...,....,,
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PRODUCERS's NAME -------'-----------------------


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                                         PAGE ONE OF TWO
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                 MODEL's fNFORMATTON AND IDENTIFICATION


LEGAL NAME:

STAGE NAME:           J{,---'¢        cl. S-\-e.e.
ADDRESS:


TELEPHONE:

SOCIAL SECURITY NUMBER:

ANY AND ALL ALIAS's or STAGE NAMES EVER USED:


IDENTIFICATION NUMBER ONE

    I) Description:              Co    i)           (___.

   2) Number:

IDENTTFICATION NUMBER TWO

    I) Description:

   2) Number:



PAYMENT RECEIPT

I acknowledge that r have received ~\-oc..Xlollars in the form of r;:::.u..':)I
                                                                             and that there
are no outstanding balances or other forms for compensation owed to mibv. Dark Alley
                                                       ~         ~


Media.                                  '    /~


SIGNATURE OF MODEL __
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                                       PAGE TWO OF TWO
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                     DARK ALLEY MEDIA MODEL RELEASE FORM

NAME OF PROJCET: ____                           £____F-_G
                                                       __________                                          _
I. the undersigned model (hereafter model), do voluntarily authorize and give permission to the below
producer. Dark Alley Media, (hereafter producer). to the exclusive ruse of photographs. video. electronic
and digital productions in any form of my person or personal property in any media existing today and
invented in the future.

From the date of execution of this General Release and Authorization, the undersigned hereto does grant.
release, and assign to Producer any and all claims of rights whatsoever in and to all photographs. moving
pictures, digital media of any and all kinds, or printed materials of the undersigned by the undersigned and
delivered to Producer for any purpose chosen by Producer.

For execution hereto and for value received and acknowledge by Model. Producer shall exclusively and
irrevocably own in property all right, title, and interest, including copyright in and to the digitized
pholographs, reproductions. video. and any digitized material of the undersigned with no rights expressly
reserved by the Model.

Model also grants Producer and its designees the right to use his name. likeness. image. voice. appearance,
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photographs. audiotapes, or other media, know now to exist or to be later developed. This grant includes
without limitation the right to edit. mix. duplicate and to use or re-use the Product in whole or in part as
Producer may elect. Producer or its designee will have complete ownership of the Product in which model
appears including copyright interests. and Model acknowledges that he has no interest or ownership in the
Product or its copyright.

Model affirms that he has the legal right to enter into this Agreement. that he is not restricted by any
commitments to any parties, and that Producer has no financial commitments or obligations to meet as a
result of this agreement.

Model also affirms that his date of birth is ____            and that the Identifications provided Producer to
verify th is date of birth are not falsified or altered in any way.

I hereby give all clearance, copyrights and otherwise. for use of my name. likeness, image, voice.
appearance. and performance embodied in the product. I expressly release and indemnify Producer and its
officers, employees. agents, and designees from an) and all claims known and unknown arising out of or in
an way connected with the above granted uses and representations. The rights granted herein are perpetual
and worldwide and survive my death and any other occurrence.

MODEL· s LEGAL                                                                  ___                 _


SIGNATURE            ~L✓L-Ll./ 4'
                  ~---------------                                DATE        I~

PRODUCERS'sNAME ---9---+-_v_·                                 _()~~~--------

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                                           PAGE ONE OF TWO
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                 MODEL·s INFORMATION AND IDENTIFICATION
                        l

LEGAL NAME:                                             1
STAGE NAME:           _!)J✓,:,r:!f/          ~~
ADDRESS:


TELEPHONE:

SOCIAL SECURITY NUMBER:

ANY AND ALL ALIAS's or STAGE NAMES EYER USED:


IDENTIFICATION NUMBER ONE
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    I) Description:               ./ \_<::::>c·....__

   2) Number:

fDENTIFICATION NUMBER TWO

    I) Description:         -~c-..      ':::>S   po   r--\-
   2) Number:



PAYMENT RECEIPT

I acknowledge that I have received i(.x,LJ dollars in the form of (~0
                                             1
                                                                       s),f(dthat there
are no outstanding balances or other forms for compensation owed to me by Dark Alley
Media.




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                     DARK ALLEY MEDIA MODEL RELEASE FORM

NAME OF PROJCET: --------,if--'-'-----=--------------- £ rL
I, the undersigned model (hereafter model). do voluntarily authorize and give permission to the below
producer, Dark Alley Media. (hereafter producer). to the exclusive ruse of photographs, video. electronic
and digital productions in any fom1 of my person or personal property in any media existing today and
invented in the future.

From the date of execution of this General Release and Authorization, the undersigned hereto does grant,
release, and assign to Producer any and all claims of rights whatsoever in and to all photographs, moving
pictures, digital media of any and all kinds, or printed materials of the undersigned by the undersigned and
delivered to Producer for any purpose chosen by Producer.

For execution hereto and for value received and acknowledge by Model, Producer shall exclusively and
irrevocably own in property all right, title. and interest, including copyright in and to the digitized
photographs, reproductions. video, and any digitized material of the undersigned with no rights expressly
reserved by the Model.

Model also grants Producer and its designees the right to use his name, likeness. image, voice. appearance,
and performance as embodied in the Product whether recorded on or transferred to videotape. film. slides,
photographs, audiotapes. or other media, know now to exist or to be later developed. This grant includes
without limitation the right to edit, mix, duplicate and to use or re-use the Product in whole or in part as
Producer may elect. Producer or its designee will have complete ownership of the Product in which model
appears including copyright interests, and Model acknowledges that he has no interest or ownership in the
Product or its copyright.

Model affirms that he has the legal right to enter into this Agreement, that he is not restricted by any
commitments to any parties, and that Producer has no financial commitments or obligations to meet as a
result of this agreement.                                ,<.'.::i
                                               ,~ ,·-·(n {   I
Model also affirms that his date of birth is ____           and that the Identifications provided Producer to
verify this date of birth are not falsified or altered in any way.

I hereby give all clearance. copyrights and otherwise. for use of my name, likeness, image, voice,
appearance. and performance embodied in the product. I expressly release and indemnify Producer and its
officers, employees, agents, and designees from any and all claims known and unknown arising out of or in
an way connected with the above granted uses and representations. The rights granted herein are perpetual
and worldwide and survive my death and any other occurrence.
                                                                    --;,
MODEL's LEGAL NAME____                                                          v____                _
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                                          1
SIGNATURE__                     /_---=-.-= ,.---__
                           ___,(f---,,                           _ DATE
                                                                           -----------
                                          '\
PRODUCERS's NAME _&_/~-----.~-"7-=-c_c._"'--_I.../'\..----''----------
                     -----
SIGNATURE._____
           =-"""'-1--=l--='----Y"\..~-----                          DATE__            _._£__,/~1_&___,/'---c-+-z-

                                          PAGE ONE OF TWO
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                  MODEL'     INFORMATION A D IDE TlFfCATIO


LEGAL NAME:

STAGE NAME:                  Vv es:
ADDRESS:


TELEPHO      E:

 OCIAL SECURITY        UMBER:

ANY AND ALL ALIAS's or STAGE NAMES EVER USED:


IDENTIFICATION NUMBER ONE

    I) Description:     _\    \c..\,c_    ....-.

   2) Number:

IDE TIFICATION NUMBER TWO

    I) Description:     J
   2) Number:



PAYMENT RECEIPT

I acknowledge that I have received .... - dollars in the form of     - and that there
are no outstanding balances or other forms for compensation owed to me by Dark Alley
Media.
                                            I          /

                                         /_,,,,.   /                        •l/c/     ~
                                                                                             7
 lGNATURE OF MODEi. _ _,&~-_,,..../'.___           /_~_          DATE _____         "'_?,_    _

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